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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
            v.                      )            Criminal No. 19-cr. 374 (JMF)
                                    )
                                    )
                                    )
MICHAEL JOHN AVENATTI,              )
                                    )
                                    )
                  Defendant.        )
____________________________________)


                 NOTICE RE: CERTIFICATE OF GOOD STANDING

      Attached hereto as Exhibit A is Counsel Nina Marino’s Certificate of Good
 Standing from the California Supreme Court in support of counsel’s motion for
 admission pro hac vice (Dkt. No. 269).

Dated: January 20, 2022                   Respectfully Submitted,



                                          Signature:        /s/_______
                                                       NINA MARINO

                                          KAPLAN MARINO, PC
                                          1546 N. Fairfax Avenue
                                          Los Angeles, CA 90046
                                          Tel: (310) 557-0007; Fax: (310) 861-1776
                                          Email: marino@kaplanmarino.com
